        Case 5:17-cv-00220-EGS Document 165 Filed 09/05/19 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN J. HALL and JEANETTE A. HALL,             :
as Administrators and Personal                 :
Representatives of the ESTATE OF               :
KARLIE A. HALL, and in their own right         :
as Decedent’s heirs-at-law,                    :
                                               :
                             Plaintiffs,       :          CIVIL ACTION NO. 17-220
                                               :
       v.                                      :
                                               :
MILLERSVILLE UNIVERSITY, SARA                  :
WIBERG, Individually and as an Employee        :
of Millersville University, ACACIA             :
NATIONAL FRATERNITY, ACACIA                    :
FRATERNITY CHAPTER NUMBER 84,                  :
COLIN HERBINE, Individually and as an          :
Agent of Acacia National Fraternity and        :
Acacia Fraternity Chapter No. 84, JACK         :
MILITO, Individually and as an Agent of        :
Acacia National Fraternity and Acacia          :
Fraternity Chapter No. 84, NICHOLAS            :
HENCH, Individually and as an Agent of         :
Acacia National Fraternity and Acacia          :
Fraternity Chapter No. 84, SEAN EBERT,         :
Individually and as an Agent of Acacia         :
National Fraternity and Acacia Fraternity      :
Chapter No. 84, NIGALE QUILES,                 :
Individually and as an Agent of Acacia         :
National Fraternity and Acacia Fraternity      :
Chapter No. 84; and JOHN DOES #1-5,            :
Individually and as Agents of Acacia           :
National Fraternity and Acacia Fraternity      :
Chapter No. 84,                                :
                                               :
                             Defendants.       :

                                            ORDER

       AND NOW, this 5th day of September, 2019, after considering the motions for summary

judgment filed by the defendants, Millersville University (Doc. No. 147), Acacia Fraternity

Chapter 84 and Nigale Quiles (Doc. No. 149), and Acacia National Fraternity (Doc. No. 150); the

responses in opposition to the motions filed by the plaintiffs (Doc. Nos. 148, 152, 153); the
         Case 5:17-cv-00220-EGS Document 165 Filed 09/05/19 Page 2 of 2




defendants’ replies to the responses in opposition (Doc. Nos. 151, 157, 158); the record presented

to the court by the parties; and the parties’ arguments raised before the court during oral argument

on November 29, 2018; and for the reasons set forth in the separately filed memorandum opinion,

it is hereby ORDERED as follows:

        1.      The motions for summary judgment (Doc. Nos. 147, 149, 150) are GRANTED,

and judgment is ENTERED in favor of Millersville University; Acacia Fraternity Chapter 84 and

Nigale Quiles; and Acacia National Fraternity; 1 and

        2.      The clerk of court is DIRECTED to mark this case as CLOSED.



                                                          BY THE COURT:



                                                          /s/ Edward G. Smith _
                                                          EDWARD G. SMITH, J.




1
  As explained in the corresponding opinion, all remaining defendants were already dismissed from the case by
stipulation or court order.
                                                     2
